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                                                                                                                                                                                                     MAMU
                                                                                                                     Stand Age 1:                                                                    Detections:
                                                                           Survey Year                                 Trees with                                            Inland     Protocol     Occupied                                              Habitat
District   Resource                                      Survey Area       (1 row=1                                       MAMU Stand Age 2       Stand Age 3    Source of    Management Used         (O); Presence Survey         Habitat        Project   Quality in
Office     Area          EA Name   Survey Polygon Name   Acres             Year)          Age Range of Stand            Structure (if present)   (if present)   Stand Ages   Zone       (Citation)   (P); None (N) Purpose        Status in Site Impact    Site         Comments

                                                                                                                                                                                                                  Monitor                                               Monitoring
Roseburg                           BAR - 5D                      45.9              2017                        238           238                                                                      O
                                                                                                                                                                                         Evans Mack 2003          Occupied Site                                         Occupied Site


                                                                                                                                                                                                                                                                        Blue and Gold
                                                                                                                                                                                                                                                                        EA (LSR/RR)
                                                                                                                                                                                                                                                                        (HLB 19.4
Roseburg   Swiftwater              Bear Creek 29 I               46.3              2019 239 and 69                           239                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                Acres)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
                                                                                                                                                                                                                                                                        (LSR/RR),
                                                                                                                                                                                                                                                                        (HLB 0.2
Roseburg   Swiftwater              Bear Creek 33 I               40.7              2019                        239           239                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                acres)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
                                                                                                                                                                                                                                                                        (LSR/RR),
                                                                                                                                                                                                                                                                        (HLB 0.08
Roseburg   Swiftwater              Bear Creek 33 II              34.2              2019                        239           239                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                acres)

                                                                                                                                                                                                                  Monitor                                               Monitoring
Roseburg   South River             Ben Irving BI - A               73              2016                        128           128                                                                      O
                                                                                                                                                                                         Evans Mack 2003          Occupied Site                                         Occupied Site

                                                                                                                                                                                                                  Monitor                                               Monitoring
Roseburg   South River             Ben Irving BI - B               82              2016 238 and 128                          238                                                                      N
                                                                                                                                                                                         Evans Mack 2003          Occupied Site                                         Occupied Site
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
Roseburg   Swiftwater              Big Tom 21 I                  40.9              2017                        238           238                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                (LSR/RR)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
Roseburg   Swiftwater              Big Tom 21 I                  40.9              2018                        239           239                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                (LSR/RR)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
Roseburg   Swiftwater              Big Tom 21 II                 81.6              2017                        238           238                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                (LSR/RR)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
Roseburg   Swiftwater              Big Tom 21 II                 81.6              2018                        239           239                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                (LSR/RR)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
Roseburg   Swiftwater              Big Tom 21 III                  42              2017                        238           238                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                (LSR/RR)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
Roseburg   Swiftwater              Big Tom 21 III                  42              2018                        239           239                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                (LSR/RR)
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
                                                                                                                                                                                                                                                                        (LSR/RR); site
Roseburg   Swiftwater              Big Tom 25 I                  17.6              2017                        58             58                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                dropped
                                                                                                                                                                                                                                                                        Deadman's
                                                                                                                                                                                                                                                                        Folley EA
                                                                                                                                                                                                                                                                        (LSR): site
Roseburg   Swiftwater              Big Tom 25 II                       9           2017                        58             58                                                                      N
                                                                                                                                                                                         Evans Mack 2003                                                                dropped




                                                                                                                                         1
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                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 25 III             57.1   2017          238      238                                    N
                                                                                                           Evans Mack 2003       (LSR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 25 III             57.1   2018          239      239                                    N
                                                                                                           Evans Mack 2003       (LSR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 25 IV              54.3   2017          238      238                                    N
                                                                                                           Evans Mack 2003       (LSR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 25 IV              54.3   2018          239      239                                    N
                                                                                                           Evans Mack 2003       (LSR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 I               35.9   2017          158      158                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 I               35.9   2018          159      159                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR); site
Roseburg   Swiftwater   Big Tom 29 II              13.9   2017          58       58                                     N
                                                                                                           Evans Mack 2003       dropped
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 III             29.5   2017          158      158                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 III             29.5   2018          159      159                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 IV              14.9   2017          158      158                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 IV              14.9   2018          159      159                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR); site
Roseburg   Swiftwater   Big Tom 29 Plat I           0.3   2017          52       52                                     N
                                                                                                           Evans Mack 2003       dropped
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR): site
Roseburg   Swiftwater   Big Tom 29 Plat II          0.2   2017          52       52                                     N
                                                                                                           Evans Mack 2003       dropped
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR); site
Roseburg   Swiftwater   Big Tom 29 Plats I           3    2017          58       58                                     N
                                                                                                           Evans Mack 2003       dropped
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR); site
Roseburg   Swiftwater   Big Tom 29 Plats II          2    2017          58       58                                     N
                                                                                                           Evans Mack 2003       dropped
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR): site
Roseburg   Swiftwater   Big Tom 29 Plats III        0.2   2017          52       52                                     N
                                                                                                           Evans Mack 2003       dropped
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Swiftwater   Big Tom 29 V                86    2017          158      158                                    N
                                                                                                           Evans Mack 2003       (LSR/RR)




                                                                                       2
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                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
Roseburg   Swiftwater   Big Tom 29 V               86    2018              159      159                                    N
                                                                                                              Evans Mack 2003       (LSR/RR)


                                                                                                                                    Blue and Gold
                                                                                                                                    EA (RR) (HLB
Roseburg   Swiftwater   Blackberry I              15.3   2019 119 and 54            119                                    N
                                                                                                              Evans Mack 2003       13.9 Acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
                                                                                                                                    (HLB 0.3
Roseburg   Swiftwater   Blue Hole 07 I            29.5   2019              239      239                                    N
                                                                                                              Evans Mack 2003       acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
                                                                                                                                    (HLB 0.04
Roseburg   Swiftwater   Blue Hole 07 II           56.7   2019              179      179                                    N
                                                                                                              Evans Mack 2003       acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
Roseburg   Swiftwater   Brad's Creek 01 I         41.7   2019              239      239                                    N
                                                                                                              Evans Mack 2003       (HLB 0.1 acre)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brad's Creek 07 I         52.2   2019 239 and 55            239                                    N
                                                                                                              Evans Mack 2003       4.4 acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
Roseburg   Swiftwater   Brad's Creek 07 II        48.3   2019              239      239                                    N
                                                                                                              Evans Mack 2003       (HLB 0.1 acre)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR)(HLB
Roseburg   Swiftwater   Brad's Creek 07 III       59.8   2019              239      239                                    N
                                                                                                              Evans Mack 2003       0.5 acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
Roseburg   Swiftwater   Brad's Creek 07 IV        41.3   2019              239      239                                    N
                                                                                                              Evans Mack 2003       (LSR/RR)


                                                                                                                                    Blue and Gold
                                                                                                                                    EA (LSR/RR)
                                                                                                                                    (HLB 5.6
Roseburg   Swiftwater   Brad's Creek 19 I         49.4   2019 239 and 49            239                                    N
                                                                                                              Evans Mack 2003       Acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
                                                                                                                                    (HLB 0.3
Roseburg   Swiftwater   Broken Buck 09 I          14.7   2019              239      239                                    N
                                                                                                              Evans Mack 2003       acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
                                                                                                                                    (HLB 0.2
Roseburg   Swiftwater   Broken Buck 09 II         24.5   2019              239      239                                    N
                                                                                                              Evans Mack 2003       acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR),
                                                                                                                                    (HLB 0.9
Roseburg   Swiftwater   Broken Buck 09 III         30    2019 239 and 30            239                                    N
                                                                                                              Evans Mack 2003       acres)




                                                                                          3
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                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR) (HLB 2.4
Roseburg   Swiftwater   Broken Buck 09 IV        32.7   2019 239 and 36                239                                    N
                                                                                                                 Evans Mack 2003       acres)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR) (HLB
Roseburg   Swiftwater   Broken Buck 09 V         11.4   2019 239 and 36                239                                    N
                                                                                                                 Evans Mack 2003       0.5 acres)


                                                                                                                                       Blue and Gold
                                                                                                                                       EA (RR) (HLB
Roseburg   Swiftwater   Broken Buck 20 I         16.5   2019 139 and 79                139                                    N
                                                                                                                 Evans Mack 2003       13.4 Acres)
                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR),
                                                                                                                                       (HLB 0.2
Roseburg   Swiftwater   Brush Creek 05 I         36.5   2019                  179      179                                    N
                                                                                                                 Evans Mack 2003       acres)
                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR),
                                                                                                                                       (HLB 0.2
Roseburg   Swiftwater   Brush Creek 05 II        33.4   2019                  179      179                                    N
                                                                                                                 Evans Mack 2003       acres)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR),
Roseburg   Swiftwater   Brush Creek 05 III       45.5   2019                  179      179                                    N
                                                                                                                 Evans Mack 2003       (HLB 0.1 acre)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 05 IV        34.5   2019 149, 30 and 59            140                                    N
                                                                                                                 Evans Mack 2003       0.9 acres)
                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR)(HLB
Roseburg   Swiftwater   Brush Creek 05 V          20    2019 149 and 51                149                                    N
                                                                                                                 Evans Mack 2003       0.5 acres)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 09 I          7.3   2019 56 and 30                 56                                     N
                                                                                                                 Evans Mack 2003       0.3 Acres)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 I         72.6   2018 158 and 59                158                                    N
                                                                                                                 Evans Mack 2003       28 Acres)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 I         72.6   2019 159 and 60                159                                    N
                                                                                                                 Evans Mack 2003       28 Acres)


                                                                                                                                       Deadman's
                                                                                                                                       Folley EA
                                                                                                                                       (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 II        67.4   2018 158 and 59                158                                    N
                                                                                                                 Evans Mack 2003       3.6 Acres)




                                                                                             4
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                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 II         67.4   2019 159 and 60            159                                    N
                                                                                                              Evans Mack 2003       3.6 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 III        59.2   2018 158 and 59            158                                    N
                                                                                                              Evans Mack 2003       23.9 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 III        59.2   2019 159 and 60            159                                    N
                                                                                                              Evans Mack 2003       23.9 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 IV         77.6   2018 158 and 59            158                                    N
                                                                                                              Evans Mack 2003       17.7 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 IV         77.6   2019 159 and 60            159                                    N
                                                                                                              Evans Mack 2003       17.7 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 V          60.6   2018 158 and 59            158                                    N
                                                                                                              Evans Mack 2003       10.5 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 V          60.6   2019 159 and 60            159                                    N
                                                                                                              Evans Mack 2003       10.5 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 VI        104.7   2018 158 and 59            158                                    P
                                                                                                              Evans Mack 2003       19.2 Acres)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 25 VI        104.7   2019 159 and 60            159                                    N
                                                                                                              Evans Mack 2003       19.2 acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
Roseburg   Swiftwater   Brush Creek 26 I          77.1   2018              158      158                                    N
                                                                                                              Evans Mack 2003       (LSR)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
Roseburg   Swiftwater   Brush Creek 26 I          77.1   2019              159      159                                    N
                                                                                                              Evans Mack 2003       (LSR)


                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
                                                                                                                                    (LSR/RR) (HLB
Roseburg   Swiftwater   Brush Creek 30 I          75.9   2019 159 and 69            159                                    N
                                                                                                              Evans Mack 2003       10.4 acres)
                                                                                                                                    Deadman's
                                                                                                                                    Folley EA
Roseburg   Swiftwater   Brush Creek 31 I          61.6   2019              159      159                                    N
                                                                                                              Evans Mack 2003       (LSR/RR)




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                                                                                                                                         Monitor         Monitoring
Roseburg   Swiftwater    Cougar View (Rattlesnake)   100.3   2017                   238      238                                    N
                                                                                                                       Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                                         Monitor         Monitoring
Roseburg   South River   Deep Six - I                 22.3   2016 238 and 128                238                                    N
                                                                                                                       Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                                         Ollala/Camas
                                                                                                                                                         EA (RR), (HLB
Roseburg   South River   DietCoq_OC_28_08_29B          4.6   2016 78 and 63                  78                                     N
                                                                                                                       Evans Mack 2003                   2 acres)
                                                                                                                                                         Ollala/Camas
                                                                                                                                                         EA (LSR) (HLB
Roseburg   South River   DietCoq_OC_28_08_29C          35    2016 128 and 78                 128                                    N
                                                                                                                       Evans Mack 2003                   3 acres)


                                                                                                                                                         Ollala/Camas
                                                                                                                                                         EA (LSR) (HLB
Roseburg   South River   DietCoqOC280831AB1           43.3   2016 108 and 63                 108                                    N
                                                                                                                       Evans Mack 2003                   3.4 acres)


                                                                                                                                                         Ollala/Camas
                                                                                                                                                         EA (LSR) (HLB
Roseburg   South River   DietCoqOC280831AB2           64.5   2016 128, 63 and 78             128                                    N
                                                                                                                       Evans Mack 2003                   24 acres)


                                                                                                                                                         Ollala/Camas
                                                                                                                                                         EA (LSR) (HLB
Roseburg   South River   DietCoqOC280831AB3           54.3   2016                   78       78                                     N
                                                                                                                       Evans Mack 2003                   22 acres)


                                                                                                                                                         Ollala/Camas
                                                                                                                                                         EA (LSR) (HLB
Roseburg   South River   DietCoqOC280831AB4           85.6   2016 148, 138 and 78            148                                    P
                                                                                                                       Evans Mack 2003                   18 acres)


                                                                                                                                                         Blue and Gold
                                                                                                                                                         EA (RR) (HLB
Roseburg   Swiftwater    Doe Creek 29 I               61.7   2019                   119      119                                    N
                                                                                                                       Evans Mack 2003                   28.6 acres)
                                                                                                                                                         Deadman's
                                                                                                                                                         Folley EA
                                                                                                                                                         (LSR/RR);
                                                                                                                                                         (HLB 1.4
Roseburg   Swiftwater    DS Overlook 23 III           50.9   2018                   238      238                                    N
                                                                                                                       Evans Mack 2003                   acres)
                                                                                                                                                         Deadman's
                                                                                                                                                         Folley EA
                                                                                                                                                         (LSR/RR);
                                                                                                                                                         (HLB 1.4
Roseburg   Swiftwater    DS Overlook 23 III           50.9   2019                   239      239                                    N
                                                                                                                       Evans Mack 2003                   acres)
                                                                                                                                                         Deadman's
                                                                                                                                                         Folley EA
                                                                                                                                                         (LSR/RR);
                                                                                                                                                         (HLB 0.3
Roseburg   Swiftwater    DS Overlook I                54.2   2018 238 and 73                 238                                    N
                                                                                                                       Evans Mack 2003                   acres)
                                                                                                                                                         Deadman's
                                                                                                                                                         Folley EA
                                                                                                                                                         (LSR/RR);
                                                                                                                                                         (HLB 0.3
Roseburg   Swiftwater    DS Overlook I                54.2   2019 239 and 74                 239                                    N
                                                                                                                       Evans Mack 2003                   acres)


                                                                                                                                                         Deadman's
                                                                                                                                                         Folley EA
                                                                                                                                                         (LSR/RR) (HLB
Roseburg   Swiftwater    DS Overlook II               55.2   2018                   238      238                                    N
                                                                                                                       Evans Mack 2003                   1.5 Acres)




                                                                                                   6
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                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR/RR) (HLB
Roseburg   Swiftwater    DS Overlook II          55.2   2019         239      239                                    N
                                                                                                        Evans Mack 2003                   1.5 Acres)

                                                                                                                          Monitor         Monitoring
Roseburg   South River   Eager Weaver - C         40    2017         58       58                                     N
                                                                                                        Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                          Monitor         Monitoring
Roseburg                 Eagleview              108.4   2016         236      236                                    N
                                                                                                        Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                          Monitor         Monitoring
Roseburg                 Eagleview              108.4   2017         237      237                                    N
                                                                                                        Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                          Monitor         Monitoring
Roseburg                 Eagleview              108.4   2018         238      238                                    O
                                                                                                        Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                          Monitor         Monitoring
Roseburg                 Eagleview              108.4   2019         239      239                                    P
                                                                                                        Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR/RR);
                                                                                                                                          (HLB 0.6
Roseburg                 Elk Creek 01 II        103.4   2018         238      238                                    N
                                                                                                        Evans Mack 2003                   acres)
                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR/RR);
                                                                                                                                          (HLB 0.6
Roseburg                 Elk Creek 01 II        103.4   2019         239      239                                    N
                                                                                                        Evans Mack 2003                   acres)
                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR); (HLB
Roseburg                 Elk Creek 01 III        47.6   2018         238      238                                    N
                                                                                                        Evans Mack 2003                   0.01 acre)
                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR); (HLB
Roseburg                 Elk Creek 01 III        47.6   2019         239      239                                    N
                                                                                                        Evans Mack 2003                   0.01 acre)


                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR/RR) (HLB
Roseburg                 Elk Creek 01 I-N        55.7   2018         68       68                                     N
                                                                                                        Evans Mack 2003                   44.6 Acres)


                                                                                                                                          Deadman's
                                                                                                                                          Folley EA
                                                                                                                                          (LSR/RR) (HLB
Roseburg                 Elk Creek 01 I-N        55.7   2019         69       69                                     N
                                                                                                        Evans Mack 2003                   44.6 Acres)
                                                                                                                                          Deadman's
                                                                                                                                          Folley EA (RR)
                                                                                                                                          (HLB 37
Roseburg                 Elk Creek 01 I-S         51    2018         68       68                                     N
                                                                                                        Evans Mack 2003                   Acres)
                                                                                                                                          Deadman's
                                                                                                                                          Folley EA (RR)
                                                                                                                                          (HLB 37
Roseburg                 Elk Creek 01 I-S         51    2019         69       69                                     N
                                                                                                        Evans Mack 2003                   Acres)




                                                                                    7
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                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR) (HLB 2.5
Roseburg   Elk Creek 01 IV        74.3   2018               238      238                                    N
                                                                                               Evans Mack 2003                   Acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR) (HLB 2.5
Roseburg   Elk Creek 01 IV        74.3   2019               239      239                                    N
                                                                                               Evans Mack 2003                   Acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (RR); (HLB 6.6
Roseburg   Elk Creek 11 I          8.8   2018               68       68                                     P
                                                                                               Evans Mack 2003                   Acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (RR); (HLB 6.6
Roseburg   Elk Creek 11 I          8.8   2019               69       69                                     N
                                                                                               Evans Mack 2003                   Acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Elk Creek 15 I         36.9   2017               238      238                                    N
                                                                                               Evans Mack 2003                   (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR); Elk
                                                                                                                                 Creek Occ.
Roseburg   Elk Creek 15 I         36.9   2018               239      239                                    O
                                                                                               Evans Mack 2003                   Site
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
                                                                                                                                 (HLB 0.5
Roseburg   Elk Creek 15 II        64.7   2017               238      238                                    N
                                                                                               Evans Mack 2003                   acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
                                                                                                                                 (HLB 0.5
Roseburg   Elk Creek 15 II        64.7   2018               239      239                                    N
                                                                                               Evans Mack 2003                   acres)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
Roseburg   Elk Creek 15 III       61.7   2017               238      238                                    N
                                                                                               Evans Mack 2003                   (HLB 0.1 acre)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
Roseburg   Elk Creek 15 III       61.7   2018               239      239                                    N
                                                                                               Evans Mack 2003                   (HLB 0.1 acre)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
Roseburg   Elk Creek 15 IV        25.7   2017               238      238                                    N
                                                                                               Evans Mack 2003                   (LSR/RR)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR); Elk
                                                                                                                                 Creek Occ.
Roseburg   Elk Creek 15 IV        25.7   2018               239      239                                    O
                                                                                               Evans Mack 2003                   Site

                                                                                                                 Monitor         Monitoring
Roseburg   EW - 8A                12.5   2017 238 and 128            238                                    N
                                                                                               Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                 Monitor         Monitoring
Roseburg   EW - 8B                10.9   2017 238 and 128            238                                    N
                                                                                               Evans Mack 2003   Occupied Site   Occupied Site




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                                                                                                                            Monitor         Monitoring
Roseburg   EW - 8C                    51.1   2017 238 and 128               238                                        N
                                                                                                          Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                            Ollala/Camas
Roseburg   GoldenGate_OC_30_08_07A    35.7   2016 138, 98 and 78            138                                        N
                                                                                                          Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                            Ollala/Camas
Roseburg   GoldenGate_OC_30_08_07A2   62.2   2016 78 and 58                  78                                        N
                                                                                                          Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                            Ollala/Camas
Roseburg   GoldenGate_OC_30_08_07B    60.5   2016 98, 78 and 58              98                                        P
                                                                                                          Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                            Ollala/Camas
Roseburg   GoldenGateOC300807D1       29.2   2016                  78        78                                        N
                                                                                                          Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Green Creek 01 I           89.3   2018                  238      238                                        N
                                                                                                          Evans Mack 2003                   (LSR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Green Creek 01 I           89.3   2019                  239      239                                        P
                                                                                                          Evans Mack 2003                   (LSR)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
                                                                                                                                            24 Acres);
                                                                                                                                            Site acres
                                                                                                                                            changed due
                                                                                                                                            to no habitat
                                                                                                                                            in southern
Roseburg   Green Creek 01 II          72.9   2018 238 and 58                238                                        N
                                                                                                          Evans Mack 2003                   area


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Green Creek 01 II          72.9   2019 239 and 59                239                                        N
                                                                                                          Evans Mack 2003                   24 Acres)

                                                                                                                            Monitor         Monitoring
Roseburg   Hardwood Table-35B         19.2   2016                  118      118                                        N
                                                                                                          Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                            Monitor         Monitoring
Roseburg   Hari Kari-A                 26    2017                  238      238                                        N
                                                                                                          Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                            Monitor         Monitoring
Roseburg   Hari Kari-C                 50    2017                  238      238                                        N
                                                                                                          Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Jack Creek 27 I            74.5   2017                  158      158                                        P
                                                                                                          Evans Mack 2003                   (LSR/RR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Jack Creek 27 I            74.5   2018                  159      159                                        N
                                                                                                          Evans Mack 2003                   (LSR/RR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Jack Creek 27 II           60.1   2017 158 and 50                158                                        N
                                                                                                          Evans Mack 2003                   (LSR/RR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Jack Creek 27 II           60.1   2018 159 and 51                159                                        N
                                                                                                          Evans Mack 2003                   (LSR/RR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Jack Creek 27 III          62.3   2017 158 and 88                158                                        N
                                                                                                          Evans Mack 2003                   (LSR/RR)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Jack Creek 27 III          62.3   2018 159 and 89                159                                        N
                                                                                                          Evans Mack 2003                   (LSR/RR)




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                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR); site
Roseburg   Jack Creek 27 Plats I           0.4   2017                      50        50                                        N
                                                                                                                  Evans Mack 2003                   dropped
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR); site
Roseburg   Jack Creek 27 Plats II          0.8   2017                      50        50                                        N
                                                                                                                  Evans Mack 2003                   dropped
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (RR): site
Roseburg   Jack Creek 27 Plats III         1.2   2017                      50        50                                        N
                                                                                                                  Evans Mack 2003                   dropped
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR); site
Roseburg   Jack Creek 27 Plats IV          3.6   2017                      50        50                                        N
                                                                                                                  Evans Mack 2003                   dropped
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
Roseburg   Little Paradise I               1.6   2017                      52        52                                        P
                                                                                                                  Evans Mack 2003                   (LSR/RR)
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
Roseburg   Little Paradise I               1.6   2018                      53        53                                        P
                                                                                                                  Evans Mack 2003                   (LSR/RR)
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR); site
Roseburg   Little Paradise II               8    2016                      78        78                                        N
                                                                                                                  Evans Mack 2003                   dropped
                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR); site
Roseburg   Little Paradise III            52.6   2016                      158      158                                        N
                                                                                                                  Evans Mack 2003                   dropped

                                                                                                                                    Monitor         Monitoring
Roseburg   Little Paradise IV             46.3   2016                      156      156                                        O
                                                                                                                  Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                                    Monitor         Monitoring
Roseburg   Little Paradise IV             46.3   2017                      157      157                                        O
                                                                                                                  Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                                    Monitor         Monitoring
Roseburg   Little Paradise IV             46.3   2018                      159      159                                        N
                                                                                                                  Evans Mack 2003   Occupied Site   Occupied Site


                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR) (HLB
Roseburg   Long Tom Folley I              77.6   2017 237, 51, 18 and 67            237                                        N
                                                                                                                  Evans Mack 2003                   28.2 acres)


                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR) (HLB
Roseburg   Long Tom Folley I              77.6   2018 238, 52, 19 and 68            238                                        N
                                                                                                                  Evans Mack 2003                   28.2 Acres)


                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR) (HLB
Roseburg   Long Tom Folley II             72.1   2017 237, 18, 51 and 26            237                                        N
                                                                                                                  Evans Mack 2003                   4.1 acres)


                                                                                                                                                    Deadman's
                                                                                                                                                    Folley EA
                                                                                                                                                    (LSR/RR) (HLB
Roseburg   Long Tom Folley II             72.1   2018 238, 19, 52 and 27            238                                        N
                                                                                                                  Evans Mack 2003                   4.1 acres)




                                                                                          10
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                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
                                                                                                                                 (HLB 0.2
Roseburg   Long Tom Folley III        42.8   2017 238, 63 and 27             238                                        N
                                                                                                           Evans Mack 2003       acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
                                                                                                                                 (HLB 0.2
Roseburg   Long Tom Folley III        42.8   2018 239, 64, and 28            239                                        P
                                                                                                           Evans Mack 2003       acres)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
Roseburg   Long Tom I                 39.6   2016                   236      237                                        N
                                                                                                           Evans Mack 2003       (HLB 1 acre)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
Roseburg   Long Tom I                 39.6   2017                   237      238                                        N
                                                                                                           Evans Mack 2003       (HLB 1 acre)
                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR),
Roseburg   Long Tom I                 39.6   2018                   238      238                                        N
                                                                                                           Evans Mack 2003       (HLB 1 acre)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR) (HLB
Roseburg   Long Tom II                 4.7   2016 156 and 50                 156                                        N
                                                                                                           Evans Mack 2003       0.8 acre)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR) (HLB
Roseburg   Long Tom II                 4.7   2017 157 and 51                 157                                        N
                                                                                                           Evans Mack 2003       0.8 acre)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR) (HLB
Roseburg   Long Tom II                 4.7   2018 158 and 52                 158                                        N
                                                                                                           Evans Mack 2003       0.8 acre)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR) (HLB
Roseburg   Long Tom III               46.8   2016 236 and 17                 236                                        N
                                                                                                           Evans Mack 2003       13.2 acres)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR) (HLB
Roseburg   Long Tom III               46.8   2017 237 and 18                 237                                        N
                                                                                                           Evans Mack 2003       13.2 Acres)


                                                                                                                                 Deadman's
                                                                                                                                 Folley EA
                                                                                                                                 (LSR/RR) (HLB
Roseburg   Long Tom III               46.8   2018 238 and 19                 238                                        N
                                                                                                           Evans Mack 2003       13.2 Acres)


                                                                                                                                 Blue and Gold
                                                                                                                                 EA (RR) (HLB
Roseburg   Marsh Creek 35 I           50.3   2019 69 and 21                   69                                        N
                                                                                                           Evans Mack 2003       32.8 acres)




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                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (HLB 6 acres)
Roseburg   Mid Little Tom Overlook      7.5   2017 52 and 26                      52                                        N
                                                                                                               Evans Mack 2003                   (RR)
                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (HLB 6 acres)
Roseburg   Mid Little Tom Overlook      7.5   2018 53 and 27                      53                                        N
                                                                                                               Evans Mack 2003                   (RR)
                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR),
                                                                                                                                                 (HLB 1.1
Roseburg   Middle Ridge                 78    2019 239, 55 and 47                239                                        N
                                                                                                               Evans Mack 2003                   acres)

                                                                                                                                 Monitor         Monitoring
Roseburg   Mixed Signals I Modified    50.1   2016                      238      238                                        N
                                                                                                               Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
Roseburg   North Little Tom Overlook    1.2   2017                      158      158                                        N
                                                                                                               Evans Mack 2003                   (LSR)
                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
Roseburg   North Little Tom Overlook    1.2   2018                      159      159                                        N
                                                                                                               Evans Mack 2003                   (LSR)


                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR) (HLB
Roseburg   Northern Tom Folley I       58.3   2016 158 and 20                    158                                        N
                                                                                                               Evans Mack 2003                   11 acres)


                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR) (HLB
Roseburg   Northern Tom Folley I       58.3   2017 159 and 21                    159                                        N
                                                                                                               Evans Mack 2003                   11 acres)


                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR) (HLB
Roseburg   Northern Tom Folley I       58.3   2018 160 and 22                    160                                        N
                                                                                                               Evans Mack 2003                   11 Acres)


                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR) (HLB
Roseburg   Northern Tom Folley II       40    2016 157, 19 and 26                157                                        N
                                                                                                               Evans Mack 2003                   11 acres)


                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR) (HLB
Roseburg   Northern Tom Folley II       40    2017 158, 20 and 27                158                                        N
                                                                                                               Evans Mack 2003                   11 acres)


                                                                                                                                                 Deadman's
                                                                                                                                                 Folley EA
                                                                                                                                                 (LSR/RR) (HLB
Roseburg   Northern Tom Folley II       40    2018 159, 21 and 28                159                                        N
                                                                                                               Evans Mack 2003                   11 Acres)
                                                                                                                                                 Ollala/Camas
Roseburg   NorthShep_OC_29_07_31A      57.7   2016 88 and 68                      88                                        N
                                                                                                               Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                                 Ollala/Camas
Roseburg   NorthShep_OC_29_07_31B      81.7   2016 88, 68, 39 and 19              88                                        N
                                                                                                               Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                                 Ollala/Camas
Roseburg   NorthShepOC2950731A         55.6   2016 138, 58, 41 and 19            138                                        N
                                                                                                               Evans Mack 2003                   EA (LSR/RR)




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                                                                                                                                            Ollala/Camas
Roseburg   NorthShepOC2950731B        39.2   2016 138 and 37                138                                        N
                                                                                                          Evans Mack 2003                   EA (LSR/RR)

                                                                                                                            Monitor         Monitoring
Roseburg   Paradise 27 II             12.7   2016 238, 54 and 88            238                                        N
                                                                                                          Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                            Monitor         Monitoring
Roseburg   Paradise 27 III            60.4   2016 238 and 55                238                                        N
                                                                                                          Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR),
                                                                                                                                            (HLB 0.05
Roseburg   Parker Creek 05 I          51.2   2017                  238      238                                        N
                                                                                                          Evans Mack 2003                   acres)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 I          51.2   2018                  239      239                                        N
                                                                                                          Evans Mack 2003                   0.05 acres)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 II         40.9   2017 238 and 58                238                                        N
                                                                                                          Evans Mack 2003                   1 acre)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 II         40.9   2018 239 and 59                239                                        N
                                                                                                          Evans Mack 2003                   1 acre)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 III        47.3   2017                  238      238                                        N
                                                                                                          Evans Mack 2003                   0.03 acres)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 III        47.3   2018                  239      239                                        N
                                                                                                          Evans Mack 2003                   0.03 acres)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 IV          67    2017                  238      238                                        N
                                                                                                          Evans Mack 2003                   0.1 acre)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 IV          67    2018                  239      239                                        N
                                                                                                          Evans Mack 2003                   0.1 acre)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 V           54    2017                  238      238                                        N
                                                                                                          Evans Mack 2003                   0.1 acre)


                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
                                                                                                                                            (LSR/RR) (HLB
Roseburg   Parker Creek 05 V           54    2018                  239      239                                        N
                                                                                                          Evans Mack 2003                   0.1 acre)
                                                                                                                                            Deadman's
                                                                                                                                            Folley EA
Roseburg   Parker Creek 33 I          39.6   2017                  208      208                                        N
                                                                                                          Evans Mack 2003                   (LSR/RR)




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                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Parker Creek 33 I             39.6   2018              209      209                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Parker Creek 33 II            51.8   2017              238      238                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Parker Creek 33 II            51.8   2018              239      239                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Parker Creek 33 III           34.2   2017              238      238                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Parker Creek 33 III           34.2   2018              239      239                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR): site
Roseburg   Parker Creek 33 Plat I         0.5   2017              28        28                                        N
                                                                                                         Evans Mack 2003                   dropped
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR/RR); site
Roseburg   Parker Creek 33 Plats I         1    2017              57        57                                        N
                                                                                                         Evans Mack 2003                   dropped
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR); site
Roseburg   Parker Creek 33 Plats II       0.5   2017              57        57                                        N
                                                                                                         Evans Mack 2003                   dropped

                                                                                                                           Monitor         Monitoring
Roseburg   PCGP-47.1-S                   63.4   2016              238      238                                        O
                                                                                                         Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                           Monitor         Monitoring
Roseburg   Rader Creek                  237.7   2016              526      526                                        N
                                                                                                         Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                           Monitor         Monitoring
Roseburg   Rader Creek                  237.7   2017              527      527                                        N
                                                                                                         Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                           Monitor         Monitoring
Roseburg   Rader Creek                  237.7   2018              528      528                                        N
                                                                                                         Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                           Monitor         Monitoring
Roseburg   Rader Creek                  237.7   2019              529      529                                        N
                                                                                                         Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                           Monitor         Monitoring
Roseburg   Ragu A                        31.6   2017              118      118                                        N
                                                                                                         Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Saddle Butte 35 I             78.5   2017 238 and 88            238                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
Roseburg   Saddle Butte 35 I             78.5   2018 239 and 89            239                                        N
                                                                                                         Evans Mack 2003                   (LSR/RR)


                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR/RR) (HLB
Roseburg   South Little Tom Overlook      3.7   2017 158 and 52            158                                        N
                                                                                                         Evans Mack 2003                   0.002 acres)




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                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   South Little Tom Overlook    3.7   2018 159 and 53                 159                                        N
                                                                                                            Evans Mack 2003       0.002 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR) (HLB 0.4
Roseburg   Squaw Creek 05 I            21.2   2019 179 and 53                 179                                        N
                                                                                                            Evans Mack 2003       acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
Roseburg   Squaw Creek 05 II           36.9   2019 179, 53 and 38             179                                        N
                                                                                                            Evans Mack 2003       (LSR/RR)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR)(HLB
Roseburg   Squaw Creek 05 III          50.4   2019 179, 53 and 60             179                                        P
                                                                                                            Evans Mack 2003       4.3 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR),
                                                                                                                                  (HLB 0.03
Roseburg   Squaw Creek 05 IV           62.2   2019                   179      179                                        P
                                                                                                            Evans Mack 2003       acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR)(HLB
Roseburg   Squaw Creek 05 V             69    2019 179, 119 and 38            179                                        N
                                                                                                            Evans Mack 2003       12.2 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR) (HLB 1
Roseburg   Squaw Creek 05 VI           52.1   2019 179 and 119                179                                        N
                                                                                                            Evans Mack 2003       acre)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
Roseburg   Squaw Creek 30 I            72.8   2019                   159      159                                        N
                                                                                                            Evans Mack 2003       (LSR)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
Roseburg   Squaw Creek 31 I            74.1   2019                   159      159                                        N
                                                                                                            Evans Mack 2003       (LSR/RR)


                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR);
Roseburg   Squaw Creek 31 II           40.2   2019 159 and 89                 159                                        N
                                                                                                            Evans Mack 2003       (HLB 0.1 acre)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
Roseburg   Squaw Creek 33 I            36.7   2019                   119      119                                        N
                                                                                                            Evans Mack 2003       (LSR/RR)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR)(HLB
Roseburg   Thistleburn 19 I             69    2019 149 and 89                 149                                        N
                                                                                                            Evans Mack 2003       17.7 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR)(HLB
Roseburg   Thistleburn 19 II           55.8   2019 149, 58 and 84             149                                        N
                                                                                                            Evans Mack 2003       5.6 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR),
                                                                                                                                  (HLB 0.2
Roseburg   Thistleburn 19 III           60    2019                   149      149                                        N
                                                                                                            Evans Mack 2003       acres)




                                                                                    15
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                                                                                                                                         Deadman's
                                                                                                                                         Folley EA
                                                                                                                                         (LSR/RR)(HLB
Roseburg   Thistleburn 19 IV           43.1   2019 149 and 56            149                                        N
                                                                                                       Evans Mack 2003                   0.8 acres)

                                                                                                                                         Deadman's
Roseburg   Thistleburn 19 V             5.2   2019              53        53                                        N
                                                                                                       Evans Mack 2003                   Folley EA (RR)


                                                                                                                                         Deadman's
                                                                                                                                         Folley EA
                                                                                                                                         (LSR/RR) (HLB
Roseburg   Thistleburn 30 I            34.7   2019 159 and 69            159                                        N
                                                                                                       Evans Mack 2003                   8.7 acres)


                                                                                                                                         Deadman's
                                                                                                                                         Folley EA
                                                                                                                                         (LSR/RR) (HLB
Roseburg   Thistleburn 30 II           49.3   2019 159 and 69            159                                        N
                                                                                                       Evans Mack 2003                   0.7 acres)
                                                                                                                                         Deadman's
                                                                                                                                         Folley EA
Roseburg   Thistleburn 33 I            33.4   2019 239 and 55            239                                        N
                                                                                                       Evans Mack 2003                   (LSR/RR)
                                                                                                                                         Deadman's
                                                                                                                                         Folley EA
Roseburg   Thistleburn 33 II           34.9   2019              239      239                                        N
                                                                                                       Evans Mack 2003                   (LSR/RR)


                                                                                                                                         Blue and Gold
                                                                                                                                         EA (LSR/RR)
                                                                                                                                         (HLB 0.9
Roseburg   Trib to Yellow 07 I         45.8   2019 179 and 60            179                                        N
                                                                                                       Evans Mack 2003                   acres)

                                                                                                                                         Blue and Gold
Roseburg   Trib to Yellow 07 II        38.3   2019              179      179                                        N
                                                                                                       Evans Mack 2003                   EA (LSR)


                                                                                                                                         Ollala/Camas
                                                                                                                                         EA (RR), (HLB
Roseburg   Twelvemile_OC_30_09_27B1    38.8   2016 98 and 28              98                                        N
                                                                                                       Evans Mack 2003                   11.4 acres)
                                                                                                                                         Ollala/Camas
                                                                                                                                         EA (LSR/RR)
                                                                                                                                         (HLB 14.7
Roseburg   Twelvemile_OC_30_09_27B2    40.9   2016              98        98                                        N
                                                                                                       Evans Mack 2003                   acres)
                                                                                                                                         Ollala/Camas
                                                                                                                                         EA (LSR/RR)
                                                                                                                                         (HLB 0.4
Roseburg   Twelvemile_OC_30_09_27B3    27.4   2016 128 and 98            128                                        N
                                                                                                       Evans Mack 2003                   acres)
                                                                                                                                         Recreation
                                                                                                                                         Project (RR)
                                                                                                                                         (HLB 14.7
Roseburg   Tyee                        23.6   2019 59 and 55              59                                        N
                                                                                                       Evans Mack 2003                   acres)


                                                                                                                                         Blue and Gold
                                                                                                                                         EA (LSR)(HLB
Roseburg   Upper Brush Creek 19 I      66.5   2019 239 and 89            239                                        N
                                                                                                       Evans Mack 2003                   13.9 acres)

                                                                                                                         Monitor         Monitoring
Roseburg   Upper Johnson West I        73.9   2016              156      156                                        O
                                                                                                       Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                         Monitor         Monitoring
Roseburg   Upper Johnson West I        73.9   2019              159      159                                        N
                                                                                                       Evans Mack 2003   Occupied Site   Occupied Site




                                                                               16
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                                                                                                                   Monitor         Monitoring
Roseburg   Upper Johnson West II      74.8   2016         236      236                                        O
                                                                                                 Evans Mack 2003   Occupied Site   Occupied Site

                                                                                                                   Monitor         Monitoring
Roseburg   Upper Johnson West II      74.8   2019         239      239                                        N
                                                                                                 Evans Mack 2003   Occupied Site   Occupied Site
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 I            34.3   2016         76        76                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 I            34.3   2017         77        77                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 II           13.5   2016         76        76                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 III           7.8   2016         76        76                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 IV           22.5   2016         76        76                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 V             5.3   2016         76        76                                        N
                                                                                                 Evans Mack 2003                   EA (LSR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 07 VI           18.2   2016         76        76                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 17 I            18.7   2016         80        80                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 17 II             3    2016         80        80                                        N
                                                                                                 Evans Mack 2003                   EA (LSR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 17 III           2.4   2016         158      158                                        N
                                                                                                 Evans Mack 2003                   EA (LSR)
                                                                                                                                   Robbin Peter
Roseburg   Ward Creek 17 IV           43.7   2016         158      158                                        N
                                                                                                 Evans Mack 2003                   EA (LSR/RR)


                                                                                                                                   Deadman's
                                                                                                                                   Folley EA
                                                                                                                                   (LSR);
                                                                                                                                   surveyed in
                                                                                                                                   2013-2015,
                                                                                                                                   so only 2017
                                                                                                                                   was surveyed
Roseburg   West Little Tom I           21    2017         78        78                                        N
                                                                                                 Evans Mack 2003                   for clearance

                                                                                                                                   Deadman's
                                                                                                                                   Folley EA
                                                                                                                                   (LSR);surveye
                                                                                                                                   d in 2013-
                                                                                                                                   2015, so only
                                                                                                                                   2017 was
                                                                                                                                   surveyed for
Roseburg   West Little Tom II          4.7   2017         78        78                                        N
                                                                                                 Evans Mack 2003                   clearance


                                                                                                                                   Deadman's
                                                                                                                                   Folley EA
                                                                                                                                   (LSR);
                                                                                                                                   surveyed in
                                                                                                                                   2013-2015,
                                                                                                                                   so only 2017
                                                                                                                                   was surveyed
Roseburg   West Little Tom III         0.9   2017         50        50                                        N
                                                                                                 Evans Mack 2003                   for clearance




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                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR);
                                                                                                                                  surveyed in
                                                                                                                                  2013-2015,
                                                                                                                                  so only 2017
                                                                                                                                  was surveyed
Roseburg   West Little Tom IV           1.5   2017                   78        78                                        N
                                                                                                            Evans Mack 2003       for clearance
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
Roseburg   West Little Tom V            2.5   2016                   40        40                                        P
                                                                                                            Evans Mack 2003       (LSR/RR)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
Roseburg   West Little Tom V            2.5   2017                   41        41                                        P
                                                                                                            Evans Mack 2003       (LSR/RR)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   Western Tom Folley I        85.1   2016 157, 19 and 26             157                                        N
                                                                                                            Evans Mack 2003       6 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   Western Tom Folley I        85.1   2017 158, 20 and 27             158                                        N
                                                                                                            Evans Mack 2003       6 acres)
                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   Western Tom Folley I        85.1   2018 159, 28 and 21             159                                        N
                                                                                                            Evans Mack 2003       6 Acres)


                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   Western Tom Folley II       74.8   2016 157, 19 and 18             157                                        N
                                                                                                            Evans Mack 2003       8.5 acres)


                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   Western Tom Folley II       74.8   2017 158, 29 and 19             158                                        N
                                                                                                            Evans Mack 2003       8.5 acres)


                                                                                                                                  Deadman's
                                                                                                                                  Folley EA
                                                                                                                                  (LSR/RR) (HLB
Roseburg   Western Tom Folley II       74.8   2018 159, 20, and 21            159                                        N
                                                                                                            Evans Mack 2003       8.5 Acres)


                                                                                                                                  Blue and Gold
                                                                                                                                  EA (RR)(HLB
Roseburg   Yellow Creek 04 I           57.2   2019 139 and 59                 139                                        P
                                                                                                            Evans Mack 2003       25.1 acres)


                                                                                                                                  Blue and Gold
                                                                                                                                  EA (LSR/RR)
                                                                                                                                  (HLB 16.9
Roseburg   Yellow Creek 04 II          31.7   2019                   139      139                                        N
                                                                                                            Evans Mack 2003       acres)
                                                                                                                                  Blue and Gold
                                                                                                                                  EA
                                                                                                                                  (LSR/RR)(HLB
Roseburg   Yellow Creek 04 III         49.5   2019                   139      139                                        N
                                                                                                            Evans Mack 2003       5.7 acres)




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                                                                                                                                                Blue and Gold
                                                                                                                                                EA (LSR/RR)
                                                                                                                                                (HLB 16.9
Roseburg   Yellow Creek 05 I          75.4   2019 159, 60 and 59                        159                                            N
                                                                                                                          Evans Mack 2003       acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (LSR/RR)
                                                                                                                                                (HLB 4.8
Roseburg   Yellow Creek 05 II         68.3   2019 159, 60 and 41                        159                                            N
                                                                                                                          Evans Mack 2003       acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (LSR/RR)
                                                                                                                                                (HLB 0.6
Roseburg   Yellow Creek 05 III        38.3   2019 159 and 38                            159                                            N
                                                                                                                          Evans Mack 2003       acres)
                                                                                                                                                Blue and Gold
                                                                                                                                                EA
                                                                                                                                                (LSR/RR)(HLB
Roseburg   Yellow Creek 05 IV         68.4   2019 129 and 60                            129                                            N
                                                                                                                          Evans Mack 2003       18.1 acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (LSR/RR)
                                                                                                                                                (HLB 33.4
Roseburg   Yellow Creek 05 V          54.3   2019 129 and 60                            129                                            N
                                                                                                                          Evans Mack 2003       acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (RR) (HLB
Roseburg   Yellow Creek 07 I          42.6   2019                               60       60                                            N
                                                                                                                          Evans Mack 2003       28.9 acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (LSR/RR)
                                                                                                                                                (HLB 34.6
Roseburg   Yellow Creek 07 II         59.4   2019                               60       60                                            N
                                                                                                                          Evans Mack 2003       acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (RR) (HLB
Roseburg   Yellow Creek 07 III        66.6   2019                               60       60                                            N
                                                                                                                          Evans Mack 2003       33.8 acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (RR) (HLB
Roseburg   Yellow Creek 07 IV         75.3   2019                               60       60                                            N
                                                                                                                          Evans Mack 2003       43.8 acres)


                                                                                                                                                Blue and Gold
                                                                                                                                                EA (LSR/RR)
                                                                                                            35-50 miles   Evans Mack            (HLB 23.4
Roseburg   Bear Creek 29 I            48.3   2020 240, 120, 70, 55, 41 and 32           240                 (Zone 2)      2003         N        acres)
                                                                                                                                                Deadman's
                                                                                                            35-50 miles   Evans Mack            Folley EA
Roseburg   Bear Creek 33 I             42    2020 240, 42, and 41                       240                 (Zone 2)      2003         N        (LSR/RR)


                                                                                                                                                Deadman's
                                                                                                                                                Folley EA
                                                                                                            35-50 miles   Evans Mack            (LSR/RR),
Roseburg   Bear Creek 33 II           35.4   2020 240, 58, 48 and 42                    240                 (Zone 2)      2003         N        (HLB 0.1 acre)


                                                                                                                                                Blue and Gold
                                                                                                            35-50 miles   Evans Mack            EA (RR) (HLB
Roseburg   Blackberry I               16.3   2020 120 and 55                            120                 (Zone 2)      2003         N        14.8 acres)




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                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR/RR),
                                                                                                       35-50 miles   Evans Mack            (HLB 0.4
Roseburg   Blue Hole 07 I             29.8   2020 240, 55, 43 and 32               240                 (Zone 2)      2003         N        acres)
                                                                                                                                           Deadman's
                                                                                                       35-50 miles   Evans Mack            Folley EA
Roseburg   Blue Hole 07 II            59.5   2020 180, 56, 55, and 40              180                 (Zone 2)      2003         N        (LSR/RR)


                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                       35-50 miles   Evans Mack            (LSR/RR),
Roseburg   Brad's Creek 01 I          45.4   2020 240, 50 and 45                   240                 (Zone 2)      2003         N        (HLB 0.2 acre)


                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                       35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg   Brad's Creek 07 I          52.9   2020 240, 56, 43 and 40               240                 (Zone 2)      2003         N        1.8 acres)


                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                       35-50 miles   Evans Mack            (LSR/RR),
Roseburg   Brad's Creek 07 II         48.3   2020 240, 59, 56, 43, 40, and 31      240                 (Zone 2)      2003         N        (HLB 0.1 acre)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                       35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg   Brad's Creek 07 III        59.8   2020 240, 59, 43, and 31              240                 (Zone 2)      2003         N        0.5 acres)
                                                                                                                                           Deadman's
                                                                                                       35-50 miles   Evans Mack            Folley EA
Roseburg   Brad's Creek 07 IV         41.3   2020 240, 59 and 43                   240                 (Zone 2)      2003         N        (LSR/RR)


                                                                                                                                           Blue and Gold
                                                                                                                                           EA (LSR/RR)
                                                                                                       35-50 miles   Evans Mack            (HLB 4.2
Roseburg   Brad's Creek 19 I          49.4   2020 240, 90, 50 and 42               240                 (Zone 2)      2003         N        acres)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR/RR),
                                                                                                       35-50 miles   Evans Mack            (HLB 0.1
Roseburg   Broken Buck 09 I           16.4   2020 240 and 57                       240                 (Zone 2)      2003         N        acres)
                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                                                           (LSR/RR),
                                                                                                       35-50 miles   Evans Mack            (HLB 0.3
Roseburg   Broken Buck 09 II           29    2020 240, 58, 57, 37 and 31           240                 (Zone 2)      2003         N        acres)
                                                                                                                                           Deadman's
                                                                                                       35-50 miles   Evans Mack            Folley EA
Roseburg   Broken Buck 09 III          32    2020 240, 58 and 31                   240                 (Zone 2)      2003         N        (LSR/RR)


                                                                                                                                           Deadman's
                                                                                                                                           Folley EA
                                                                                                       35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg   Broken Buck 09 IV          30.9   2020 240, 160, 58 and 37              240                 (Zone 2)      2003         N        0.7 acres)
                                                                                                                                           Deadman's
                                                                                                       35-50 miles   Evans Mack            Folley EA
Roseburg   Broken Buck 09 V            9.9   2020 240, 57 and 37                   240                 (Zone 2)      2003         P        (LSR)




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                                                                                                                                                                           Blue and Gold
                                                                                                                         35-50 miles   Evans Mack                          EA (RR) (HLB
Roseburg                Broken Buck 20 I           20.1   2020 140, 80 and 31                        140                 (Zone 2)      2003         N                      16.5 acres)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 05 I            38    2020 180 and 31                            180                 (Zone 2)      2003         N                      (LSR/RR)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 05 II          36.8   2020 180 and 51                            180                 (Zone 2)      2003         N                      (LSR)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 05 III         48.1   2020 180, 39 and 31                        180                 (Zone 2)      2003         N                      (LSR)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 05 IV          33.3   2020 150, 58 and 52                        150                 (Zone 2)      2003         N                      (LSR/RR)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 05 V           19.6   2020 150 and 60                            150                 (Zone 2)      2003         N                      (LSR)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 09 I            9.5   2020                               57       57                 (Zone 2)      2003         N                      (LSR)


                                                                                                                                                                           Deadman's
                                                                                                                                                                           Folley EA
                                                                                                                         35-50 miles   Evans Mack                          (LSR/RR) (HLB
Roseburg                Brush Creek 30 I           75.9   2020 160 and 70                            160                 (Zone 2)      2003         N                      10.4 acres)
                                                                                                                                                                           Deadman's
                                                                                                                         35-50 miles   Evans Mack                          Folley EA
Roseburg                Brush Creek 31 I           61.6   2020 160 and 61                            160                 (Zone 2)      2003         N                      (LSR)

                                                                                                                         35-50 miles   Evans Mack                          Blue and Gold
Roseburg   Swiftwater   Diamond Back 17 I          11.7   2020 240, 160, 50, 42 and 29               240                 (Zone 2)      2003         N                      EA (LSR)
                                                                                                                         35-50 miles
Roseburg   Swiftwater   Diamond Back 17 I          11.7   2021                           242         242                 (Zone 2)                   N
                                                                                                                                       Evans Mack 2003


                                                                                                                                                                           Blue and Gold
                                                                                                                                                                           EA (LSR/RR)
                                                                                                                         35-50 miles   Evans Mack                          (HLB 0.8
Roseburg   Swiftwater   Diamond Back 17 II         42.6   2020 240, 50, 42 and 29                    240                 (Zone 2)      2003         N                      acres)
                                                                                                                         35-50 miles
Roseburg   Swiftwater   Diamond Back 17 II         42.6   2021                           241         241                 (Zone 2)                   N
                                                                                                                                       Evans Mack 2003


                                                                                                                                                                           Blue and Gold
                                                                                                                         35-50 miles   Evans Mack                          EA (LSR) (HLB
Roseburg   Swiftwater   Diamond Back 17 III        46.9   2020 240, 56, 50, 42 and 32                240                 (Zone 2)      2003         N                      2.2 acres)
                                                                                                                         35-50 miles
Roseburg   Swiftwater   Diamond Back 17 III        46.9   2021                           241         241                 (Zone 2)                   N
                                                                                                                                       Evans Mack 2003



                                                                                                                                                                           Blue and Gold
                                                                                                                         35-50 miles   Evans Mack                          EA (LSR/RR)
Roseburg   Swiftwater   Diamond Back 17 IV         30.6   2020 240, 160, 51, 50, 46 and 32           240                 (Zone 2)      2003         N                      (HLB 0.1 acre)
                                                                                                                         35-50 miles
Roseburg   Swiftwater   Diamond Back 17 IV         30.6   2021                           243         243                 (Zone 2)                   N
                                                                                                                                       Evans Mack 2003


                                                                                                                                                             Other         Blue and Gold
                                                                                                                         35-50 miles   Evans Mack            (Explain in   EA (LSR) (HLB
Roseburg   Swiftwater   Diamond Back 17 V          20.8   2020 160, 56 and 46                        160                 (Zone 2)      2003         N        Comments)     0.2 acres)




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                                                                                                                           35-50 miles
Roseburg   Swiftwater    Diamond Back 17 V          20.8   2021                           241            242               (Zone 2)                   N
                                                                                                                                         Evans Mack 2003

                                                                                                                           35-50 miles   Evans Mack                        Blue and Gold
Roseburg   Swiftwater    Diamond Back 17 VI         19.5   2020 240 and 29                               240               (Zone 2)      2003         N                    EA (LSR)
                                                                                                                           35-50 miles
Roseburg   Swiftwater    Diamond Back 17 VI         19.5   2021                           241            241               (Zone 2)                   N
                                                                                                                                         Evans Mack 2003


                                                                                                                                                                           Blue and Gold
                                                                                                                           35-50 miles   Evans Mack                        EA (LSR) (HLB
Roseburg   Swiftwater    Diamond Back 17 VII         6.9   2020 240, 56, 54 and 32                       240               (Zone 2)      2003         N                    3.3 acres)
                                                                                                                           35-50 miles
Roseburg   Swiftwater    Diamond Back 17 VII         6.9   2021 241,54,56                                241               (Zone 2)                   N
                                                                                                                                         Evans Mack 2003


                                                                                                                                                                           Blue and Gold
                                                                                                                           35-50 miles   Evans Mack                        EA (RR) (HLB
Roseburg   Swiftwater    Doe Creek 29 I             61.7   2020 140 and 120                              140               (Zone 2)      2003         N                    34.2 acres)

                                                                                                                           35-50 miles   Evans Mack        Monitor         Monitoring
Roseburg   Swiftwater    Eagleview                 108.4   2020                           240            240               (Zone 2)      2003         N    Occupied Site   Occupied Site
                                                                                                                                                                           Deadman's
                                                                                                                                                                           Folley EA
                                                                                                                                                                           (LSR/RR);
                                                                                                                           35-50 miles   Evans Mack                        (HLB 0.4
Roseburg   Swiftwater    Elk Creek 01 II           103.4   2020 240, 70, 44, 30 and 29                   240               (Zone 2)      2003         N                    acres)
                                                                                                                                                                           Deadman's
                                                                                                                           35-50 miles   Evans Mack                        Folley EA
Roseburg   Swiftwater    Elk Creek 01 III           47.6   2020 240 and 30                               240               (Zone 2)      2003         N                    (LSR)


                                                                                                                                                                           Deadman's
                                                                                                                                                                           Folley EA
                                                                                                                           35-50 miles   Evans Mack                        (LSR/RR) (HLB
Roseburg   Swiftwater    Elk Creek 01 IV            74.3   2020 240, 70, 60, 44 and 29                   240               (Zone 2)      2003         N                    0.1 acres)


                                                                                                                                                                           Blue and Gold
                                                                                                                           35-50 miles   Evans Mack                        EA (LSR) (HLB
Roseburg   Swiftwater    Galagher V                 44.9   2020 160 and 60                               160               (Zone 2)      2003         N                    0.9 acres)
                                                                                                                           35-50 miles
Roseburg   Swiftwater    Galagher V                 44.9   2021                           161            161               (Zone 2)                   N
                                                                                                                                         Evans Mack 2003
                                                                                                                                                                           Deadman's
                                                                                                                           35-50 miles   Evans Mack                        Folley EA
Roseburg                 Green Creek 01 I           89.3   2020 240 and 29                               240               (Zone 2)      2003         N                    (LSR)


                                                                                                                                                                           Deadman's
                                                                                                                                                                           Folley EA
                                                                                                                           35-50 miles   Evans Mack                        (LSR/RR) (HLB
Roseburg                 Green Creek 01 II          72.9   2020 240, 70, 60 and 29                       240               (Zone 2)      2003         N                    24.1 acres)

                                                                                                                           0-35 miles    Evans Mack        Monitor         Monitoring
Roseburg                 Halfway Creek II           92.8   2020 240, 55, 54 and 37                       240               (Zone 1)      2003         O    Occupied Site   Occupied Site


                                                                                                                                                                           42 Divide EA
                                                                                                                           35-50 miles   Evans Mack                        (LSR/RR) (HLB
Roseburg   South River   Hari Kari F                94.7   2020 240, 140, 60, 40 and 39                  240               (Zone 2)      2003         N                    37.7 acres)
                                                                                                                           35-50 miles
Roseburg   South River   Hari Kari F                94.7   2021 240 and 206                     241 and 207                (Zone 2)                   N
                                                                                                                                         Evans Mack 2003
                                                                                                                                                                           42 Divide EA
                                                                                                                           35-50 miles   Evans Mack                        (RR) (HLB
Roseburg   South River   Hari Kari-G                79.8   2020                           130            130               (Zone 2)      2003         N                    47.8 acres)




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                                                                                                                            35-50 miles
Roseburg   South River   Hari Kari-G               79.8   2021                                                              (Zone 2)                   N
                                                                                                                                          Evans Mack 2003


                                                                                                                                                                42 Divide EA
                                                                                                                            35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg   South River   KAZE-B                    23.5   2020 240 and 60                                 240               (Zone 2)      2003         N        0.6 acres)
                                                                                                                            35-50 miles
Roseburg   South River   KAZE-B                    23.5   2021 241 and 61                                 241               (Zone 2)                   N
                                                                                                                                          Evans Mack 2003


                                                                                                                                                                Blue and Gold
                                                                                                                            35-50 miles   Evans Mack            EA (RR) (HLB
Roseburg   Swiftwater    Little Canyon 19 I         3.8   2020 60 and 41                                  60                (Zone 2)      2003         N        1.3 acres)
                                                                                                                            35-50 miles
Roseburg   Swiftwater    Little Canyon 19 I         3.8   2021 48 and 94                      48 and 94                     (Zone 2)                   N
                                                                                                                                          Evans Mack 2003


                                                                                                                                                                Blue and Gold
                                                                                                                            35-50 miles   Evans Mack            EA (RR) (HLB
Roseburg                 Marsh Creek 35 I          50.3   2020 70, 56 and 22                              70                (Zone 2)      2003         N        32.3 acres)
                                                                                                                                                                Deadman's
                                                                                                                                                                Folley EA
                                                                                                                                                                (LSR/RR),
                                                                                                                            35-50 miles   Evans Mack            (HLB 2.1
Roseburg                 Middle Ridge               78    2020 240, 58, 56, 48 and 41                     240               (Zone 2)      2003         N        acres)
                                                                                                                                                                42 Divide EA
                                                                                                                            35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg   South River   Muns Creek                51.5   2020 240 and 60                                 240               (Zone 2)      2003         N        1.3 acres)
                                                                                                                            35-50 miles
Roseburg   South River   Muns Creek                51.5   2021 241 and 61                                 241               (Zone 2)                   N
                                                                                                                                          Evans Mack 2003


                                                                                                                                                                42 Divide EA
                                                                                                                            35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg   South River   Muns Creek 03 I            38    2020 140 and 60                                 140               (Zone 2)      2003         N        0.3 acres)
                                                                                                                            35-50 miles
Roseburg   South River   Muns Creek 03 I            38    2021                          141               141               (Zone 2)                   N
                                                                                                                                          Evans Mack 2003


                                                                                                                                                                42 Divide EA
                                                                                                                            35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg   South River   Muns Creek 33 I            16    2020 240, 60 and 40                             240               (Zone 2)      2003         P        0.9 acres)
                                                                                                                            35-50 miles
Roseburg   South River   Muns Creek 33 I            16    2021 241 and 61                                 241               (Zone 2)                   N
                                                                                                                                          Evans Mack 2003
                                                                                                                            35-50 miles   Evans Mack            42 Divide EA
Roseburg   South River   Muns Creek 33 II          32.2   2020 240 and 60                                 240               (Zone 2)      2003         N        (LSR)
                                                                                                                            35-50 miles
Roseburg   South River   Muns Creek 33 II          32.2   2021 241 and 61                                 241               (Zone 2)                   N
                                                                                                                                          Evans Mack 2003

                                                                                                                            35-50 miles   Evans Mack            Blue and Gold
Roseburg   Swiftwater    Norton Creek 15 I         15.6   2020 160 and 85                                 160               (Zone 2)      2003         N        EA (LSR)
                                                                                                                            35-50 miles
Roseburg   Swiftwater    Norton Creek 15 I         15.6   2021 161 and 86                                 161               (Zone 2)                   N
                                                                                                                                          Evans Mack 2003


                                                                                                                                                                Blue and Gold
                                                                                                                                                                EA (LSR/RR)
                                                                                                                            35-50 miles   Evans Mack            (HLB 0.2
Roseburg   Swiftwater    Norton Creek 15 II         5.1   2020 160 and 85                                 161               (Zone 2)      2003         N        acres)
                                                                                                                            35-50 miles
Roseburg   Swiftwater    Norton Creek 15 II         5.1   2021 161 and 135                    161 and 135                   (Zone 2)                   N
                                                                                                                                          Evans Mack 2003




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                                                                                                                                                                      Blue and Gold
                                                                                                                                                                      EA (LSR/RR)
                                                                                                                      35-50 miles   Evans Mack                        (HLB 0.2
Roseburg   Swiftwater    Norton Creek 15 III        20.4   2020 160 and 85                          160               (Zone 2)      2003         N                    acres)
                                                                                                                      35-50 miles
Roseburg   Swiftwater    Norton Creek 15 III        20.4   2021 136 and 141                136 and 141                (Zone 2)                   N
                                                                                                                                    Evans Mack 2003
                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (RR) (HLB
Roseburg   South River   Petty Larsony 08 I         18.4   2020 140 and 26                          140               (Zone 2)      2003         N                    16.7 acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony 08 I         18.4   2021                      141            141               (Zone 2)                   N
                                                                                                                                    Evans Mack 2003
                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (RR) (HLB 8.3
Roseburg   South River   Petty Larsony L            12.3   2020 140 and 26                          140               (Zone 2)      2003         N                    acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony L            12.3   2021                      141            141               (Zone 2)                   N
                                                                                                                                    Evans Mack 2003
                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (RR) (HLB
Roseburg   South River   Petty Larsony L1            27    2020 140 and 27                          140               (Zone 2)      2003         N                    19.8 acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony L1            27    2021                      141            141               (Zone 2)                   N
                                                                                                                                    Evans Mack 2003
                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (RR) (HLB 8.9
Roseburg   South River   Petty Larsony M            16.9   2020 140, 27 and 26                      140               (Zone 2)      2003         N                    acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony M            16.9   2021                      141            141               (Zone 2)                   N
                                                                                                                                    Evans Mack 2003
                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (RR) (HLB
Roseburg   South River   Petty Larsony NaA           33    2020 140, 120 and 27                     140               (Zone 2)      2003         N                    30.4 acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony NaA           33    2021                                                       (Zone 2)                   N
                                                                                                                                    Evans Mack 2003
                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (RR) (HLB
Roseburg   South River   Petty Larsony NaB          42.2   2020 140 and 120                         140               (Zone 2)      2003         N                    31.6 acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony NaB          42.2   2021                                                       (Zone 2)                   N
                                                                                                                                    Evans Mack 2003


                                                                                                                                                                      42 Divide EA
                                                                                                                      35-50 miles   Evans Mack                        (LSR/RR) (HLB
Roseburg   South River   Petty Larsony Nb           34.9   2020 140, 120 and 27                     140               (Zone 2)      2003         N                    23.0 acres)
                                                                                                                      35-50 miles
Roseburg   South River   Petty Larsony Nb           34.9   2021                                                       (Zone 2)                   N
                                                                                                                                    Evans Mack 2003

                                                                                                                      0-35 miles    Evans Mack        Monitor         Monitoring
Roseburg                 Rader Creek               237.7   2020 530 and 49                          530               (Zone 1)      2003         N    Occupied Site   Occupied Site
                                                                                                                                                                      Deadman's
                                                                                                                      35-50 miles   Evans Mack                        Folley EA
Roseburg                 Squaw Creek 05 I           21.2   2020                      180            180               (Zone 2)      2003         N                    (LSR)
                                                                                                                                                                      Deadman's
                                                                                                                      35-50 miles   Evans Mack                        Folley EA
Roseburg                 Squaw Creek 05 II          36.9   2020 180 and 54                          180               (Zone 2)      2003         N                    (LSR)
                                                                                                                                                                      Deadman's
                                                                                                                                                                      Folley EA
                                                                                                                      35-50 miles   Evans Mack                        (LSR)(HLB 3.2
Roseburg                 Squaw Creek 05 III         50.4   2020 180, 61, 54 and 39                  180               (Zone 2)      2003         N                    acres)
                                                                                                                                                                      Deadman's
                                                                                                                      35-50 miles   Evans Mack                        Folley EA
Roseburg                 Squaw Creek 05 IV          62.2   2020 180 and 51                          180               (Zone 2)      2003         N                    (LSR)




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                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg                 Squaw Creek 05 V             69    2020 180, 54, 51 and 39               180                 (Zone 2)      2003         N        11.3 acres)
                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR) (HLB 1
Roseburg                 Squaw Creek 05 VI           52.1   2020 180 and 120                      180                 (Zone 2)      2003         N        acre)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Squaw Creek 30 I            72.8   2020 160, 120 and 90                  160                 (Zone 2)      2003         N        (LSR)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Squaw Creek 31 I            74.1   2020 160 and 90                       160                 (Zone 2)      2003         N        (LSR/RR)


                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR/RR);
Roseburg                 Squaw Creek 31 II           40.2   2020 160, 90 and 32                   160                 (Zone 2)      2003         N        (HLB 0.1 acre)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Squaw Creek 33 I            36.7   2020 120, 58 and 49                   120                 (Zone 2)      2003         N        (LSR/RR)
                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg                 Thistleburn 19 I             69    2020 150, 85, 59, 40 and 39           150                 (Zone 2)      2003         N        21.8 acres)
                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg                 Thistleburn 19 II           55.8   2020 150, 85, 59 and 40               150                 (Zone 2)      2003         N        5.1 acres)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Thistleburn 19 III           60    2020 150, 60 and 54                   150                 (Zone 2)      2003         N        (LSR)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Thistleburn 19 IV           43.1   2020 160, 150, 60 and 40              160                 (Zone 2)      2003         N        (LSR)

                                                                                                                      35-50 miles   Evans Mack            Deadman's
Roseburg                 Thistleburn 19 V             5.2   2020                          54       54                 (Zone 2)      2003         N        Folley EA (RR)


                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg                 Thistleburn 30 I            34.7   2020 160 and 70                       160                 (Zone 2)      2003         N        8.4 acres)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Thistleburn 30 II           49.3   2020 160, 150, 120 and 70             160                 (Zone 2)      2003         N        (LSR)


                                                                                                                                                          Deadman's
                                                                                                                                                          Folley EA
                                                                                                                      35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg                 Thistleburn 33 I            33.4   2020 240, 75 and 56                   240                 (Zone 2)      2003         N        0.2 acres)
                                                                                                                                                          Deadman's
                                                                                                                      35-50 miles   Evans Mack            Folley EA
Roseburg                 Thistleburn 33 II           34.9   2020 240, 75, 56 and 48               240                 (Zone 2)      2003         N        (LSR)
                                                                                                                                                          42 Divide EA
                                                                                                                      35-50 miles   Evans Mack            (RR) (HLB 8.8
Roseburg   South River   Trib to Tenmile 22 I        11.3   2020 70 and 27                         70                 (Zone 2)      2003         N        acres)




                                                                                                        25
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                                                                                                                          35-50 miles
Roseburg   South River   Trib to Tenmile 22 I          11.3   2021                            64       64                 (Zone 2)                   N
                                                                                                                                        Evans Mack 2003


                                                                                                                                                              Blue and Gold
                                                                                                                          35-50 miles   Evans Mack            EA (LSR) (HLB
Roseburg   Swiftwater    Trib to Williams 27 I         77.8   2020 195, 64 and 60                     195                 (Zone 2)      2003         N        0.1 acres)
                                                                                                                          35-50 miles
Roseburg   Swiftwater    Trib to Williams 27 I         77.8   2021                          197       197                 (Zone 2)                   N
                                                                                                                                        Evans Mack 2003

                                                                                                                          35-50 miles   Evans Mack            Blue and Gold
Roseburg   Swiftwater    Trib to Williams 27 II        27.9   2020 150 and 64                         150                 (Zone 2)      2003         N        EA (LSR)
                                                                                                                          35-50 miles
Roseburg   Swiftwater    Trib to Williams 27 II        29.9   2021                          152       152                 (Zone 2)                   N
                                                                                                                                        Evans Mack 2003


                                                                                                                                                              Blue and Gold
                                                                                                                                                              EA (LSR/RR)
                                                                                                                          35-50 miles   Evans Mack            (HLB 0.9
Roseburg   Swiftwater    Trib to Yellow 07 I           45.8   2020 180 and 61                         180                 (Zone 2)      2003         N        acres)

                                                                                                                          35-50 miles   Evans Mack            Blue and Gold
Roseburg   Swiftwater    Trib to Yellow 07 II          38.3   2020                          180       180                 (Zone 2)      2003         N        EA (LSR)
                                                                                                                                                              Recreation
                                                                                                                                                              Project (RR)
                                                                                                                          35-50 miles   Evans Mack            (HLB 14.7
Roseburg   Swiftwater    Tyee                          23.6   2020 60 and 56                           60                 (Zone 2)      2003         N        acres)
                                                                                                                          35-50 miles   Evans Mack            42 Divide EA
Roseburg   South River   Upper Boulder 33 I            55.3   2020                          240       240                 (Zone 2)      2003         N        (LSR)


                                                                                                                          35-50 miles   Evans Mack            42 Divide EA
Roseburg   South River   Upper Boulder 33 II           58.6   2020 240 and 120                        240                 (Zone 2)      2003         P        (LSR)
                                                                                                                                                              Blue and Gold
                                                                                                                                                              EA
                                                                                                                          35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg                 Upper Brush Creek 19 I        66.5   2020 240 and 47                         240                 (Zone 2)      2003         N        11.9 acres)
                                                                                                                          35-50 miles   Evans Mack            42 Divide EA
Roseburg                 Upper Union 33 I              36.2   2020 240 and 37                         240                 (Zone 2)      2003         N        (LSR)


                                                                                                                                                              42 Divide EA
                                                                                                                          35-50 miles   Evans Mack            (LSR/RR) (HLB
Roseburg                 Upper Union 33 II             93.2   2020 240, 120, 100, 46, 31 and 30       240                 (Zone 2)      2003         N        4.3 acres)

                                                                                                                          35-50 miles   Evans Mack            Blue and Gold
Roseburg   Swiftwater    Yellow Creek 03 I             47.4   2020 240 and 47                         240                 (Zone 2)      2003         N        EA (LSR)
                                                                                                                          35-50 miles
Roseburg   Swiftwater    Yellow Creek 03 I             47.4   2021                          241       241                 (Zone 2)                   N
                                                                                                                                        Evans Mack 2003

                                                                                                                          35-50 miles   Evans Mack            Blue and Gold
Roseburg   Swiftwater    Yellow Creek 03 II            57.4   2020 240 and 47                         240                 (Zone 2)      2003         N        EA (LSR)
                                                                                                                          35-50 miles
Roseburg   Swiftwater    Yellow Creek 03 II            57.4   2021                          241       241                 (Zone 2)      Evans Mack 2003


                                                                                                                                                              Blue and Gold
                                                                                                                          35-50 miles   Evans Mack            EA (LSR) (HLB
Roseburg   Swiftwater    Yellow Creek 03 III           28.5   2020 240, 90 and 47                     240                 (Zone 2)      2003         N        1.3 acres)
                                                                                                                          35-50 miles
Roseburg   Swiftwater    Yellow Creek 03 III           28.5   2021 241 and 82                         241                 (Zone 2)                   N
                                                                                                                                        Evans Mack 2003




                                                                                                            26
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                                                                                                                                                      Blue and Gold
                                                                                                                  35-50 miles   Evans Mack            EA (RR)(HLB
Roseburg   Swiftwater   Yellow Creek 04 I          57.2   2020 140 and 60                     140                 (Zone 2)      2003         N        28.8 acres)


                                                                                                                                                      Blue and Gold
                                                                                                                  35-50 miles   Evans Mack            EA (RR) (HLB
Roseburg   Swiftwater   Yellow Creek 04 II         31.7   2020                                140                 (Zone 2)      2003         N        16.9 acres)
                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA
                                                                                                                  35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg   Swiftwater   Yellow Creek 04 III        49.5   2020                       140      140                 (Zone 2)      2003         N        6.9 acres)


                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA (LSR/RR)
                                                                                                                  35-50 miles   Evans Mack            (HLB 16.0
Roseburg   Swiftwater   Yellow Creek 05 I          75.4   2020 160, 140, 61 and 60            160                 (Zone 2)      2003         N        acres)


                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA (LSR/RR)
                                                                                                                  35-50 miles   Evans Mack            (HLB 3.9
Roseburg   Swiftwater   Yellow Creek 05 II         68.3   2020 160, 61 and 39                 160                 (Zone 2)      2003         N        acres)

                                                                                                                  35-50 miles   Evans Mack            Blue and Gold
Roseburg   Swiftwater   Yellow Creek 05 III        38.3   2020 160, 61 and 39                 160                 (Zone 2)      2003         P        EA (LSR)
                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA
                                                                                                                  35-50 miles   Evans Mack            (LSR/RR)(HLB
Roseburg   Swiftwater   Yellow Creek 05 IV         68.4   2020 130 and 61                     130                 (Zone 2)      2003         N        20.4 acres)


                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA (LSR/RR)
                                                                                                                  35-50 miles   Evans Mack            (HLB 33.5
Roseburg   Swiftwater   Yellow Creek 05 V          54.3   2020 140, 130 and 61                140                 (Zone 2)      2003         N        acres)


                                                                                                                                                      Blue and Gold
                                                                                                                  35-50 miles   Evans Mack            EA (RR) (HLB
Roseburg   Swiftwater   Yellow Creek 07 I          42.6   2020 61 and 29                       61                 (Zone 2)      2003         N        29.0 acres)


                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA (LSR/RR)
                                                                                                                  35-50 miles   Evans Mack            (HLB 36.0
Roseburg   Swiftwater   Yellow Creek 07 II         59.4   2020 180, 61 and 29                 180                 (Zone 2)      2003         N        acres)


                                                                                                                                                      Blue and Gold
                                                                                                                                                      EA (LSR/RR)
                                                                                                                  35-50 miles   Evans Mack            (HLB 44.6
Roseburg   Swiftwater   Yellow Creek 07 III        66.6   2020 180 and 61                     180                 (Zone 2)      2003         N        acres)


                                                                                                                                                      Blue and Gold
                                                                                                                  35-50 miles   Evans Mack            EA (RR) (HLB
Roseburg   Swiftwater   Yellow Creek 07 IV         75.3   2020                       61        61                 (Zone 2)      2003         P        47.8 acres)




                                                                                                    27
